       Case 4:11-cr-00166-RP-CFB Document 113 Filed 04/18/12 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
               vs.                            )       Case No. 4:II-cr-OOI66-RP-CFB
                                              )
MAURICIO PIMENTAL,                            )
                                              )
                       Defendant.             )


    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rille 11 , Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count 1 and Count 8 of the Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rille 11, I determined that the

guilty plea was knowing and voluntary as to ttatcoun~and that the offense;charge~pportedby

an independent factual basis concerning each of the essential elements of such offens~pefendant

understands and agrees to be bound by the terms of the Plea Agreement. I, therefore, recommend

that the plea ofguilty be accepted, that a pre-sentence investigation and report be prepared, and that

the Defendant be adjudged guilty and have sentence imposed accordingly.




Date                                               CELESTE F. BREMER
                                                   UNITED STATES MAGISTRATE JUDGE


                                              NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date ofits service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
